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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 13-20259-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  RODOLPHE JAAR,

        Defendant.
  ______________________________/

                                             ORDER

         THIS CAUSE came before the Court on Defendant Rodolphe Jaar’s Renewed Motion for

  Two-Point Reduction (“Motion”) [ECF No. 126], filed April 1, 2015. The Court has carefully

  considered the Motion, the Government’s Response . . . [ECF No. 128], Defendant’s Reply . . .

  [ECF No. 129], and the Government’s Surreply . . . [ECF No. 131]. In its Surreply, the

  Government agrees Defendant is eligible for a reduction of his sentence to a term of 46 months,

  but not less than the time of imprisonment that the Defendant has served as of November 1,

  2015. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion [ECF No. 126] is GRANTED, and

  Defendant’s sentence is reduced to 45 months, but not less than the time of imprisonment that

  the Defendant has served as of November 1, 2015. An amended judgment will be entered

  separately.

         DONE AND ORDERED in Chambers at Miami, Florida this 14th day of May, 2015.



                                                        _________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
